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13
                          IN THE UNITED STATES DISTRICT COURT
14
                                FOR THE DISTRICT OF ARIZONA
15
     A.I.I.L., on behalf of herself and her              Case No. 4:19-cv-00481-JCH
16   minor children, J.A.H.I. and M.E.H.I.;
     L.L.H.O., on behalf of herself and her          MOTION TO CONSOLIDATE CASES
17   minor child, K.E.O.H.; J.L.V.A., on behalf of
     himself and his minor child, D.S.V.H.;           FOR COMMON POLICY-BASED
18   J.I.S., on behalf of himself and his minor            DISCOVERY ONLY
     child, B.L.S.P.; and J.J.P.B., on behalf of
19   himself and his minor child, A.E.P.F
20                      Plaintiffs,
21   v.
22   Jefferson Beauregard Sessions III, et al.,
23
                        Defendant.
24
25         Defendant, the United States of America, pursuant to Fed. R. Civ. P. 42(a), and LRCiv

26   42.1(a), (b) moves this Court for an order consolidating this action with C.M. v. United

27   States, No. 2:19-cv-05217, and A.P.F. v. United States, No. 2:20-cv-00065, for the sole

28   purpose of coordinating policy-based discovery common to each case, to include the
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 1   national-level policy-related discovery directed at high level government officials, as well as
 2   the implementation of such policies by officials and employees of Border Patrol Sectors,
 3   Immigration and Customs Enforcement (ICE) Field Offices, and U.S. Attorney’s Offices.
 4   As explained below, while the specific factual issues concerning the Plaintiffs in this case
 5   differ in some respects from those in C.M. and A.P.F., the common allegations concerning
 6   policy-related decisions by high-ranking officials within the U.S. Department of Homeland
 7   Security (DHS), U.S. Department of Health and Human Services (HHS), and U.S.
 8   Department of Justice (DOJ), present the opportunity for consolidated, uniform discovery
 9   with respect to document discovery and depositions of high-ranking federal officials, as well
10   as officials and employees at the Border Patrol Sectors, ICE Field Offices, and U.S.
11   Attorney’s Offices, that would avoid unnecessary duplication of judicial resources,
12   conflicting discovery rulings, and delay in completing litigation in all matters. The United
13   States therefore requests that a single judicial officer preside over discovery issues common
14   to all cases, with each suit remaining with its assigned district court judge for all other
15   matters, including discovery pertaining to the individual plaintiff(s) in each case, dispositive
16   motions, and trial. This motion is supported by the following Memorandum of Points and
17   Authorities.
18                    MEMORANDUM OF POINTS AND AUTHORITIES
19          This is an action against the United States under the Federal Tort Claims Act (FTCA),
20   28 U.S.C. § 2671 et seq., seeking monetary damages for alleged injuries caused by
21   Defendant’s implementation of policies to refer adult noncitizens for prosecution, and
22   subsequent detention, for illegal entry at the United States-Mexico border, resulting in the
23   separation of parents and children (the “Family Separation Cases”). This Court has noted:
24          . . .there is overlap between [Family Separation Cases] and both C.M. and
            A.P.F. . . . The Court recognizes that [the] cases involve similar causes of
25
            action, share a common defendant, and at least generally arise from the same
26          event—the Government’s promulgation and implementation of the Family
            Separation Policy at the United States’ southern border. However, there are
27          also substantial differences between the cases, both factually and legally. For
28          example, the specific facts surrounding the separations and alleged
            mistreatment that occurred in each case are unique.

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 1   B.A.D.J. v. United States, No. 2:21-cv-00215-SMB, Doc. 48 (April 21, 2022). It is the
 2   common, and overlapping, discovery with respect to the national, policy-related decision-
 3   making of senior government officials, as well as the implementation of those policies by
 4   officials and employees with the Border Patrol Sectors, ICE Field Offices, and U.S.
 5   Attorney’s Offices, that the United States believes would be best handled by a single judicial
 6   officer in these cases.
 7   I.       Consolidation for the limited purpose of policy-based discovery common to the
              Family Separation Cases would avoid unnecessary costs, duplication of efforts,
 8            and inconsistent results.
 9            District courts have broad discretion under Fed. R. Civ. P. 42(a) to consolidate cases
10   pending in the same district. Investors Research Co. v. U.S. Dist. Court for Cent. Dist. of
11   Cal., 877 F.2d 777, 777 (9th Cir. 1989). Rule 42(a) provides:
12            If actions before the court involve a common question of law or fact, the court
13            may:

14               (1) join for hearing or trial any or all matters at issue in the actions;
                 (2) consolidate the actions; or
15               (3) issue any other orders to avoid unnecessary cost or delay.
16   Fed. R. Civ. P. 42(a). Consolidation should be used to “eliminate unnecessary repetition and
17   confusion.” Miller v. U.S. Postal Serv., 729 F.2d 1033, 1036 (5th Cir. 1984). Consolidation
18   provides convenience for the court and saves time and expense to the parties. Hall v. Hall,
19   138 S. Ct. 1118, 1126 (2018). Under this rule, “one or many or all of the phases of the several
20   actions may be merged. But merger is never so complete in consolidation as to deprive any
21   party of any substantial rights which he may have possessed had the actions proceeded
22   separately.” Id. at 1130 (quoting 3 J. Moore & J. Friedman, Moore’s Federal Practice § 42.01,
23   pp. 3050–3051 (1938)).
24            Under Rule 42(a), district courts “may consolidate cases for purposes of discovery
25   and pre-trial proceedings only.” Chelsea, LLC v. Regal Stone, Ltd., No. 07-5800 SC, 2009
26   WL 250479, at *2 (N.D. Cal. Feb. 3, 2009); Disc. Bank & Tr. Co. v. Salomon Inc., 141
27   F.R.D. 42, 43 (S.D.N.Y. 1992) (“Rule 42(a) empowers this Court to order consolidation of
28   these actions for pretrial purposes.”) (citing MacAlister v. Guterma, 263 F.2d 65 (2d Cir.

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 1   1958). “[C]onsolidation” for such purposes “is not precluded when cases are at different
 2   stages of discovery.” See Blasko v. Washington Metro. Area Transit Auth., 243 F.R.D. 13,
 3   16 (D.D.C. 2007).
 4          Despite the noticeable, fact-based differences between the Plaintiffs in this matter and
 5   those in C.M. and A.P.F., all plaintiffs challenge Defendant’s implementation of policies to
 6   refer adult noncitizens for prosecution, and subsequent detention, for illegal entry at the
 7   United States-Mexico border, resulting in the separation of parents and children. These
 8   allegations do not concern the treatment of any specific plaintiff, but instead center on the
 9   common, policy-related decision-making of high-ranking federal officials, and the
10   implementation of those policies by officials and employees with the Border Patrol Sectors,
11   ICE Field Offices, and U.S. Attorney’s Offices, that were not particularized to individual
12   migrants. For this common, policy-based discovery, plaintiffs from each case will
13   necessarily need to depose the same policy-level federal officials and obtain the same non-
14   individualized documentary evidence. The parties will benefit from uniform discovery
15   rulings across all cases. Permitting a single judicial officer to oversee this common discovery
16   would allow all parties to benefit from uniform implementation of a discovery plan;
17   consistent rulings regarding privilege and other issues; and coordination of depositions and
18   discovery regarding identical topics. For these reasons, “[c]onsolidation for discovery” will
19   also “promote judicial efficiency and eliminate duplication of discovery and motion practice
20   by the parties.” Blagg v. Line, No. 09CV0703, 2010 WL 3893981, at *1-2 (N.D. Okla. Sept.
21   23, 2010); see also Erie Ins. Prop. & Cas. Co. & United Fin. Cas. Co., No. 1:16CV195,
22   2017 WL 11297277, at *2 (N.D. W. Va. May 17, 2017) (consolidating actions “for discovery
23   purposes only,” finding “consolidation will promote judicial economy,” avoid “duplicative
24   efforts to uncover the same set of facts,” and “[e]stablishing all factual issues in one set of
25   discovery and deposing witnesses one time . . . will avert the risk of inconsistent
26   adjudications based on inconsistent facts”); Rishell v. Computer Scis. Corp., No. 1:13-CV-
27   931, 2014 WL 11515835, at *1 (E.D. Va. Apr. 4, 2014) (consolidating cases for “the
28   purposes of discovery and pre-trial practice,” finding cases “will likely involve deposing the

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 1   same witnesses, involve the same defendant, and exploring the same defenses”); Beaulieu
 2   Grp. LLC v. Mohawk Carpet Distribution, Inc., No. 4:15-CV-0124-HLM, 2016 WL
 3   4607879, at *2 (N.D. Ga. Jan. 4, 2016) (consolidating cases for “discovery and pretrial
 4   purposes” where the “witnesses and custodians of documents will be similar in each case”
 5   and “consolidating the two cases could save the Court significant time as similar motions
 6   and disputes may arise in each case”); Fed. Ins. Co. v. Banyon 1030-32, LLC, No. 8:10-CV-
 7   1422-T-33AEP, 2010 WL 3212119, at *1 (M.D. Fla. Aug. 12, 2010) (finding consolidation
 8   “for purposes of discovery . . . appropriate” where it “will lessen the burden on the parties,
 9   witnesses, . . . available judicial resources,” and “help eliminate unnecessary repetition and
10   confusion”); Lemons v. Bd. of Cty. Comm'rs of Cty. of Brown, No. CIV. A. 00-2292-KHV,
11   2001 WL 395395, at *1-2 (D. Kan. Mar. 30, 2001) (consolidating cases “for purposes of
12   discovery” where cases “require[d] the same discovery,” subject to differences specific to
13   each individual plaintiff, and absent consolidation witnesses would be subjected to multiple,
14   duplicative depositions).
15          Notably, the United States does not seek to burden a single judge with the entirety of
16   these (and any forthcoming) cases arising from the separations of families at the United
17   States-Mexico border. The United States instead proposes a mechanism to streamline issues
18   common to all such cases while allowing the district court judges assigned to each case to
19   retain control over all other matters, including discovery related to the individual plaintiffs
20   as well as all dispositive issues in each action.
21   II.    Alternatively, the Court may consider appointing a special master to handle
            policy-based discovery common to the Family Separation Cases.
22
            Although the United States believes that consolidating this suit with C.M. and A.P.F.
23
     for policy-based discovery common to all Family Separations Cases would be the most
24
     efficient and least burdensome means of ensuring consistency across such cases, this Court
25
     also might consider appointment of a special master. LRCiv 53.1 permits this Court to
26
     appoint a Magistrate Judge to serve as a Special Master in any civil case in accordance with
27
     Rule 53 of the Federal Rules of Civil Procedure. See also 28 U.S.C. § 636(b)(2). The United
28
     States proposes use of LRCiv 53.1 in these matters as an alternative option as a means of
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 1   accomplishing the same ends of consistency of common discovery, minimization of burden,
 2   and preservation of resources across Family Separations Cases.
 3          The United States further informs this Court that it intends to file a similar motion, at
 4   the appropriate time, in the following Family Separations Cases in this district in an effort to
 5   streamline common discovery issues. Fed. R. Civ. P. 1. B.A.D.J. v. United States, No. 2:21-
 6   cv-00215-SMB; E.S.M. v. United States, No. 4:21-cv-00029-JAS; and Fuentes-Ortega v.
 7   United States, No. 2:22-cv-00449-DGC.
 8          The undersigned conferred with opposing counsel in this case, who do not consent to
 9   the relief sought in this filing. 1
10          The undersigned also conferred with counsel for Plaintiffs in the C.M. and A.P.F.
11   matters, who stated they oppose the motion.
12          WHEREFORE, for the foregoing reasons, the United States respectfully requests that
13   this Court issue an order consolidating this matter with C.M. v. United States, No. 2:19-cv-
14   05217 and A.P.F. v. United States, No. 2:20-cv-00065 for the sole purpose of coordinating
15   policy-based discovery common to each case.
16          RESPECTFULLY SUBMITTED this 14th day of June, 2022.
17                                              BRIAN M. BOYNTON
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20                                              Director, Torts Branch

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            1 A motion to consolidate common policy-based discovery was filed in F.R. v. United
28   States, Case No. CV-21-00339-PHX-DLR (D. Ariz.) (ECF No. 55). The Plaintiffs in that
     action did not oppose the motion to consolidate.
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 3                                            Attorneys for United States of America
 4
                                  CERTIFICATE OF SERVICE
 5
           I hereby certify that on June 14, 2022, I electronically transmitted the attached
 6
     document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 7
 8   Notice of Electronic Filing to all CM/ECF registrants.

 9
     s/ Phil MacWilliams
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     PHILIP D. MACWILLIAMS
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     Attorney for United States of America
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